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AO 245B       (Rev. 09/11) Judgment in a Criminal Case
NHDCiO/15     Sheet!



                                          United States District Court
                                                              District of New Hampshire

              UNITED STATES OF AMERICA                                             JUDGMENT IN A CRIMINAL CASE


                           Kurt Sanborn                                            Case Number: 13-cr-28-01-SM

                                                                                   USM Number: 04230-049

                                                                                    Michael D. Ramsdell, Esq.
                                                                                   Defendant s Attomev

THE DEFENDANT:

^pleaded guilty to count(s)          1, 2 and 3 of the indictment
• pleaded nolo contendere to count(s)                                                                                          r]- -
  which was accepted by the court.
                                                                                                                               "r^ot
• was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                        Offense Ended              Count

18U.S.C. §1343                     Wire Fraud
                                                                                                            10/30/2004



18 U.S.C. § 1341                   Mail Fraud
                                                                                                            10/30/2004


18 U.S.C. §1344                    Bank Fraud                                                               3/31/2004    ,             3

       The defendant is sentenced as provided in pages 2 through                          of this Judgment. The sentence is imposed pursuant to
the Sentencina Reform Act of 1984.

• The defendant has been found not guilty on count(s)

• Count(s)                                               •   is   •   are dismissed on the motion of the United States.

• Count(s)

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
ormailing address until allfines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered topay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                           12/17/2015

                                                                          DaUyrfJfl^sition of Judament



                                                                          S^analiirc of Judae'


                                                                          Steven J. McAuliffe U.S. District Judge
                                                                          Name and Title of Judge


                                                                                                     n
                           Case 1:13-cr-00028-SM Document 70 Filed 12/17/15 Page 2 of 6
AO 245B              (Rev. 09/11) Judgment in Criminal Case
NHDClO/15             Sheet2 — Imprisonment
                                                                                                         Judgment—Page         of
DEFENDANT: KurtSanborn
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                                                                IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

                 Twenty-Seven (27) months on each of Counts 1 through 3, all such terms to be served concurrently.




       The court makes the following recommendations to the Bureau of Prisons:

              that the defendant be designated to FMG Devens, MAfor service of his period of Incarceration.




   ^ The defendant is remanded to the custody ofthe United States Marshal.
   •    The defendant shall surrender to the United States Marshal for this district:

        •      at                                   •    a.m.     •    p.m.    on
        •      as notified by the United States Marshal.

   •    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        •      before 2 p.m. on
        •      as notified by the United States Marshal.

        •      as notified by the Probation or Pretrial Services Office.

                                                                      RETURN
 I have executed this judgment as follows:




            Defendant delivered on                                                           to


                                                        , with a certified copy of this judgment.



                                                                                                       UNITED STATES MARSHAL



                                                                              By
                                                                                                    DEPUTY UNITED STATES MARSHAL
                             Case 1:13-cr-00028-SM Document 70 Filed 12/17/15 Page 3 of 6
AO 245B              (Rev. 09/11) Judgment in a Criminal Case
NH DC 10/15          Sheet 3 — Supervised Release
                                                                                                            Judgment—^Pagc    o     of
DEFENDANT:              KurtSanborn
CASE NUMBER:               13-cr-28-01-SM
                                                                SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of:
                 Three (3) years on each of Counts 1 through 3, all such terms to run concurrently.




             The defendantmust report to the probationoffice in the district to which the defendantis releasedwithin 72 hours ofreleasefrom the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, not to exceed 72 drug tests per year.
 •        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check ifapplicable.)

 ^        The defendant shall not possess afirearm, ammunition, destructive device, or any other dangerous weapon. (Check ifapplicable.)
 ^        The defendant shall cooperate in the collection ofDNA as directed by the probation officer. (Check ifapplicable.)
 |-|      The defendant shall comply with therecmirements of the Sex Offender Registration and Notification Act(42 U.S.C. § 16901, etseq.)
          as directed by the probation officer, the Bureau of Prisons, or emy state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a qualifying offense. (Check ifapplicable.)

 •        The defendant shall participatein an approvedprogramfor domesticviolence. (Check ifapplicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)    the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
     6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)    the defendant shall not associatewith any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;
  10)      the defendant shall permit a probationofficer to visit him or her at any time at home or elsewhere and shall permit confiscationofany
           contraband observed in plain view of the probation officer;
  11) the defendantshall notify the probationofficer within seventy-twohours of being arrested or questioned by a law enforcementofficer;
 12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and

 13)       as directedby the probationofficer, the defendantshall notify third parties of risks that may be occasionedby the defendant's criminal
           record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm die
           defendant s compliancewith such notification requirement.
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AO 24SB     (Rev. 09/11) Judgment in a Criminal Case
flHDC 10/15 Sheet3C— Supervised Release
                                                                                           Judgment—^Page         of
DEFENDANT: KurtSanborn
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                                          SPECIAL CONDITIONS OF SUPERVISION
 1. The defendant shall not Incur new credit charges or open additional lines of credit without the approval of the probation
 officer unless he is in compliance with the installment payment schedule.

 2. The defendant shall provide the probation officer with access to any requested financial information.

 3. The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation.

 4. As directed by the probation officer, the defendant shall participate in a program approved by the United States
 Probation Office for treatment of narcotic addiction or drug or alcohol dependency which will include testing for the
 detection of substance use or abuse. The defendant shall also abstain from the use of alcoholic beverages and/or all other
 intoxicants during and after the course of treatment. The defendant shall pay for the cost of treatment to the extent he is
 able as determined by the probation officer.

 5. The defendant shall participate in a program of mental health treatment as directed by the probation officer, until such
 time as the defendant is released from the program by the probation officer. The defendant shall pay for the cost of
 treatment to the extent he is able as determined by the probation officer.

 6. The defendant shall not engage in a profession that provides access to personal identification information or any
 fiduciary responsibility without the approval of the probation officer.
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AO 245B     (Kev. 09/11) JudgmeiU in a Criminal Case
            Sheet 5 — Criminal Monelarv Penalties

                                                                                                         Judgment — Page
DEFENDANT:            KurtSanborn
CASE NUMBER: 13-cr-28-01 -SM
                                                CRIMINAL MONETARY PENALTIES

      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment                                                                               Restitution
TOTALS              $ 300.00                                                                                   $ 200,000.00



•     The determination of restitution is deferred until                   . An Amended Judgment in a Criminal Case(A0 245C) will be entered
      after such determination.


•     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      Ifthe defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column "below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
       before the United States is paid.

Name of Pavee                                                                Total Loss*          Restitution Ordered      Priority or Percentage

    Stewart Title Guaranty Company                                                                           $200,000.00
    do Jessica Thurbee, Esq.



    Cheaspeake, VA 23320




TOTALS                                                                                          200,000.00



•       Restitution amount ordered pursuant to plea agreement $

•       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 ^      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
        ^ the interest requirement is waived for the              • fine    ^ restitution.
        •   the interest requirement for the           •   fine    Q   restitution is modified as follows:



 * Findingsforthe total amount of losses are required under Chapters 109A, 110, 11 OA, and 113A ofTitle 18 for offenses committed on or after
 September 13. 1994. but before April 23. 1996.
                           Case 1:13-cr-00028-SM Document 70 Filed 12/17/15 Page 6 of 6
AO 24SB                (Rev. 09/11) Judgment in a Criminal Case
NHDC rev (10/15)       Sheet 6 — Schedule of Payments
                                                                                                               Judgment—Page        6      of
 DEFENDANT:            KurtSanborn
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                                                          SCHEDULE OF PAYMENTS

 Having assessedthe defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     •    Lumpsum payment of $                                  due immediately, balance due

            •       not later than                                    ,or
            •       in accordance         •    C,     •    D,     •     E,or     •    F below; or

 B     ^ Payment to begin immediately (may be combined with                    • 0,       • D, or      5^F below); or
 C     •    Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                            (e.g., months oryears)^ to commence                        (e.g.. 30 or 60days)after the date of this judgment; or

 D     •    Payment in equal                          (e.g., weekly, monthly, quarterly) installmentsof $                        over a period of
                            (e.g., months oryears)^to commence                        (e.g.. 30 or 60 days)after release from imprisonment to a
            term of supervision; or

 E     •    Payment during the term ofsupervised release will commence within                 (e.g.. 30 or 60 days) after release from
            imprisonment. The court will set the payment plan basedon an assessment of the defendant's ability to pay at that time; or

       5^ Special instructions regarding the payment ofcriminal monetary penalties:
                Payments toward the criminal monetary penalties are ordered to begin immediately. Within thirtydays of the
                corhmencement of supervision, payments shall be made In equal monthly Installments of $250.00 during the
                period of supervision, and thereafter. Upon commencement of supervision, the probation officershall reviewthe
                defendant's financial circumstances and, if necessary, recommend a revised payment schedule on any
                outstanding balance for approval by the Court.



 Unless thecourt has expressly ordered otherwise, ifthisjudgment imposes imprisonment, payment ofcriminal monetary penalties isdue during
 imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the Clerk, U.S. District Court, 55 Pleasant Street, Room 110, Concord, N.H. 03301. Personal checks
 are not accepted.
 The defendantshall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 •     Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




 •     The defendant shall pay the cost of prosecution.

 •     The defendant shall pay the following court cost(s):

 •     The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in thefollowing order: (1)assessment, (2) restitution principal, (3) restitution interest, (4)fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
